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UNITED STATES DISTRICT COURT
DISTRICT OF MASSACHUSETTS

 

EUGENE SCALIA, Secretary of Labor,
United States Department of Labor, !

Plaintiff,

v. Civil Action No. 1:20-cv-11944-RGS

JKA CONSTRUCTION, INC., MENDES

CANDIDO FRAMERS CORPORATION,
and LUIZ MAURO VILELA, JR.,

Defendants.

 

 

CONSENT JUDGMENT AND ORDER

Plaintiff Secretary of Labor, United States Department of Labor (the “Secretary”), has
filed a Complaint in this case under the Fair Labor Standards Act, 29 U.S.C. § 201, et seg. (the
“FLSA” or “Act”). Defendant Luiz Mauro Vilela, Jr. was served with the Complaint on
December 1, 2020 and answered the Complaint on December 14, 2020. Defendant Vilela admits
that Defendant Vilela violated Section 15(a)(3) of the Act, 29 U.S.C. § 215(a)(3).

The Court finds that it has jurisdiction to enter this Consent Judgment and Order (the
“Consent Judgment”), and the Secretary and Defendant Vilela agree to its terms.

It is therefore ORDERED, ADJUGED, and DECREED that:

1. Defendant Vilela, Defendant Vilela’s agents, servants, and employees, and those

persons in active concert or participation with Defendant Vilela, are permanently enjoined and

 

' Pursuant to Rule 25(d) of the Federal Rules of Civil Procedure, Secretary of Labor
Martin J. Walsh is automatically substituted as the proper Plaintiff in this case. For ease of
reference, the Secretary and his pertinent predecessors will be referred to herein as the
“Secretary.”
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restrained from violating the provisions of Section 15(a)(3) of the FLSA, 29 U.S.C. § 215(a)(3).
Among other prohibited acts of retaliation, Defendant Vilela and any other persons subject to
this permanent injunction shall not:
a. Harass or intimidate any employee or any employee’s family members for
purposes of inhibiting any employee’s rights under the Act;
b. Make threats of harm to any employee or any employee’s family members for
purposes of inhibiting any employee’s rights under the Act;
c. Threaten to close a business for purposes of inhibiting any employee’s rights
under the Act; or
d. Terminate or threaten to terminate any employee, or threaten that any employee
will lose their job, for purposes of inhibiting any employee’s rights under the Act.

2. Further, the Court, finding that Josue Siqueira is due punitive damages in the
amount of $1,500.00 for Defendant Vilela’s violations of Section 15(a)(3) of the FLSA, 29
U.S.C. § 215(a)(3), orders that Defendant Vilela shall pay to the Secretary said punitive
damages, plus any applicable interest, according to the terms set forth herein.

3 The punitive damages provisions of this Consent Judgment shall be deemed
satisfied when Defendant Vilela delivers to the Secretary $1,500.00 in punitive damages.

4. Defendant Vilela shall make the payments required by this Consent Judgment on
or before the dates set forth on the attached Exhibit 1, which is incorporated in and made a part
of this Consent Judgment, with the first payment being made on or before October 1, 2021.

3: Defendant Vilela may make the punitive damages payments required by this
Consent Judgment online by ACH transfer, credit card, debit card, or digital wallet by going to

https://pay.gov/public/form/start/77689032 or by going to http:/Avww.pay.gov and searching for
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WHDBWNE. Alternatively, payment may be made in the form of certified checks made payable
to “Wage and Hour Division—Labor” and delivered to the United States Department of Labor,
Wage and Hour Division, 1835 Market Street, 19th Floor, Philadelphia, Pennsylvania 19103-
2968, Attn: William Schweizer. Any such check shall have Case Number 1879616 written on the
face of the check.

6. In the event Defendant Vilela fails to make payment within ten days of any
payment being due under this Consent Judgment, Defendant Vilela consents to the entry of a
Writ of Execution, pursuant to Federal Rule of Civil Procedure 69, to enforce the monetary terms
of this Consent Judgment. The Secretary may seek such a writ at any time after the entry of this
Consent Judgment and may represent in filing for such a writ that Defendant Vilela consents to
its issuance. Upon a request from the Secretary, Defendant Vilela agrees to furnish to the
Secretary a complete and accurate list of Defendant Vilela’s real, personal, and business property
with an estimated value of $500.00 or more and the locations of such property for purposes of
the Secretary seeking a Writ of Execution in accordance with this Paragraph of the Consent
Judgment.

7. Upon receipt from Defendant Vilela, the Secretary will distribute to Josue
Siqueira the punitive damages amount totaling $1,500.00.

8. Defendant Vilela shall not, in any way, solicit, demand, accept, or keep any
amount paid or payable to any employee or former employee under this Consent Judgment, or in
any manner attempt to recover or otherwise influence any employee or former employee to
forfeit any amounts paid to such employee or former employee in connection with this Consent
Judgment. In the event any such amount is received from any employee, Defendant Vilela shall

immediately remit such amount to the United States Department of Labor at the following
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address: United States Department of Labor, Wage and Hour Division, 835 Market Street, 19th
Floor, Philadelphia, Pennsylvania 19103-2968, Attn: William Schweizer.

9, Defendant Vilela represents that, to the best of Defendant Vilela’s knowledge and
following diligent review and inquiry, Defendant Vilela has been in compliance with the FLSA,
as interpreted by the Secretary, since August 26, 2021. In entering this Consent Judgment, the
Secretary has relied on the truth of this representation. If this representation is determined to be
false, and Defendant Vilela is found to be in violation of the FLSA, additional damages may be
owed and other relief may be appropriate.

10. Defendant Vilela shall not fail to cooperate with the United States Department of
Labor in any investigation conducted pursuant to Section 11(a) of the FLSA, 29 U.S.C. § 211(a).
Defendant Vilela shall provide truthful responses and other information and documents to the
United States Department of Labor. Nothing contained in this Consent Judgment, including the
requirement to cooperate as set forth in this Paragraph, abrogates Defendant Vilela’s rights under
the United States Constitution.

11. Nothing in this Consent Judgment precludes the Secretary from using evidence
discovered in the investigation that led to the Complaint in this matter in any future investigation,
enforcement action, or legal action.

12. _— Nothing in this Consent Judgment precludes the Secretary from bringing an
enforcement action against Defendant Vilela for any violation of the FLSA not specifically set
forth in the Secretary’s Complaint in this case.

13. Each party shall bear its own fees and other expenses incurred by such party in

connection with any stage of this proceeding.
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SO ORDERED, this Oth day of Augach , 2021.

For the Secretary:

Seema Nanda
Solicitor of Labor

Maia S. Fisher
Regional Solicitor

Mark A. Pedulla
Wage and Hour Counsel

/s/ Emily V. Wilkinson
Emily V. Wilkinson

Trial Attorney
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MA BBO No. 699512

Post Office Address:

U.S. Department of Labor

Office of the Solicitor

John F. Kennedy Federal Building
Room E-375

Boston, MA 02203

TEL: (617) 565-2500

FAX: (617) 565-2142

Date: August 27, 2021

 
    

Richard G. Stéarns
United States District Judge

For IEP cy

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Date: August 26, 2021
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EXHIBIT 1
PAYMENT SCHEDULE
Payment Date Payment Amount
October 1, 2021 $500.00
November 1, 2021 $500.00
December 1, 2021 $500.00

 

 

 
